                                                                               Electronically Filed
           Case 7:20-cv-00404 Document 1-1 Filed on 12/10/20 in TXSD Page   1 of 43:18 PM
                                                                       1 1/5/2020
                                                                               Hidalgo County District Clerks
                                                                               Reviewed By: Armando Cantu
                                             -3868-20-G
                                  CAUSE NO.:C


 FLORENCIO SENDEJO                                     IN THE        JUDICIAL DISTRICT


 VS.                                                   COURT OF                                   A

 WAL-MART STORES TEXAS LLC                             HIDALGO COUNTY,TEXAS


                               PLAINTIFF'S ORIGINAL PErMON


 TO THE HONORABLE JUDGE OF SAID COURT:

         NOW COMES FLORENCIO SENDEJO,hereinafter referred to as Plaintiff, and files this,

 his Original Petition against WAL-MART STORES TEXAS LLC, hereinafter referred to as

Defendant, and for cause of action will show the Court the following:

                      DISCOVERY CONTROL PLAN - BY RULE(LEVEL.3)

         1. Plaintiff intends to conduct discovery under Level 3 as provided by Rule 190 of the

Texas Rules of Civil Procedure.

                                      CLAIM FOR RELIFF

         2. Plaintiff is seeking monetary relief from Defendant in the amount of $75,000.00, as

compensation for his damages.

                                           PARTIES

         3.Plaintiff Florendo Sendejo is an individual who resides in Mission, Hidalgo County,

Texas.

        4. Defendant Wal-Mart Stores Texas LLC is a duly licensed limited liability company in

Texas. Defendant Wal-Mart Stores Texas LLC may be served with process by serving its

registered agent, C.T. Corporation System,at 1999 Bryan Street,Suite 900,Dallas,Texas 75201-

3136.
                                                                     Electronically Filed
         Case 7:20-cv-00404 Document 1-1 Filed on 12/10/20 in TXSD Page   2 of 43:18 PM
                                                                     11/5/2020
                                                                                  Hidalgo County District Clerks
                                                                                  Reviewed By: Armando Cantu
                                        C-3868-20-G
                                  VENUE AND JURISDICTION

        5. The incident described hereinbelow or events giving rise to Plaintiff's claim against

 Defendant arose in Penitas, Hidalgo County, Texas. Venue for this cause of action therefore

 lies in Hidalgo County, Texas.

        6. The damages that Plaintiff is seeking from Defendant are within the jurisdictional

 limits of the Court. This Court therefore has jurisdiction of this cause of action.

                                              FACTS

        7. On June 2, 2020, at approximately 5:00 p.m., Plaintiff was shopping at Defendant's

 Wal-Mart store located in Penitas, Hidalgo County,Texas,for business purposes.Plaintiff was

 walking near a doorway to exit the store, tripped, fell to the floor, and suffered injuries and

damages. Defendant's employees placed a mat on the floor in front of the doorway that was

worn,dilapidated,lightin weight,flimsy,and notsecured to the floor.The matcaused Plaintiff

to trip and fall. The mat flipped up and/or over when Plaintiff tripped on the mat and fell.

Defendant had mats on the floor near the doorway in the adjacent vestibule that were taped to

the floor. The mat that caused Plaintiff to trip and fall was not taped to the floor. Defendant

created the dangerous condition on its store premises that caused Plaintiff to trip and fall by

its employees placing the flimsy mat on the floor in an unsecured manner. Knowledge of the

dangerous condition is therefore imputed on Defendant under Texas Premises Liability Law.

                            CAUSE OF ACTION BASED ON
                 PREMISES LIABILITY LAW AND PROXIMATE CAUSE

      8. At all time that is material to the incident described hereinabove and this case,

Defendant was negligent under premises liability law in that: A. Plaintiff was a business

invitee, B. Defendant owned, possessed, and/or controlled the premises where the incident

described hereinabove occurred, C. A condition on the premises, the flimsy and dilapidated

mat that was on the floor in an unsecured manner, as described in the preceding paragraph,.


                                                2
                                                                               Electronically Filed
         Case 7:20-cv-00404 Document 1-1 Filed on 12/10/20 in TXSD Page  3 of 43:18 PM
                                                                     11/5/2020
                                                                               Hidalgo County District Clerks
                                                                               Reviewed By: Armando Cantu
                                       C-3868-20-G
 posed an unreasonable risk of harm,D.Defendant knew or reasonably should have known of

 the danger posed by the condition, and E. Defendant breached its duty of ordinary care by

 failing to adequately warn Plaintiff of the condition and failing to make the condition

 reasonably safe. This negligence by Defendant was the sole proximate cause or a proximate

 cause of the incident described hereinabove and of the injuries and damages suffered by

Plaintiff, as set out hereinbelow.

                                             DAMAGES

        9. As a proximate cause of the negligence of Defendantin causing the incident described

hereinabove, Plaintiff suffered injuries, suffered physical pain and mental anguish in the past,

will suffer physical pain and mental anguish in the future,suffered physical impairmentin the

past, will suffer physical impairmentin the future,suffered physical disfigurementin the past,

will suffer physical disfigurement in the future,incurred medical expensesin the past,and will

incur medical expenses in the future. Plaintiff is seeking monetary relief from Defendantin the

amount of $75,000.00, as compensation for his damages.

                                     VICARIOUS LIABILITY

       10. At all time that is material to the incident described hereinabove and this case,

Defendant's employees acted within the course, scope, and authority of their employment

and/or agency relationship with Defendant. Defendant should therefore be held vicariously

liable to Plaintiff for all of Plaintiff's damages alleged herein.

                     PREJUDGMENT AND POSTTUDGMENT INTEREST

       11. Plaintiff further sues Defendant herein for prejudgment interest at the maximum

rate allowed by law on those damages where such interest may be assessed and for

postjudgment interest at the maximum rate allowed by law on all of Plaintiff's damages from

the date ofjudgment until the judgment is paid in full.




                                                 3
                                                                             Electronically Filed
        Case 7:20-cv-00404 Document 1-1 Filed on 12/10/20 in TXSD Page 4 of 43:18 PM
                                                                    11/5/2020
                                                                             Hidalgo County District Clerks
                                        C-3868-20-G                          Reviewed By: Armando Cantu

                              REQUEST FOR JURY AND JURY FEE

       12. Plaintiff requests that the above-styled and numbered cause be tried to a jury and

represents to the Court that the proper jury fee has been paid to the Clerk of this Court with

the filing of Plaintiff's Original Petition.

       WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that upon final hearing, he

have judgment against Defendant for all of his damages hereinabove alleged,for prejudgment

and postjudgment interest, and for any and all other relief, both general and special, in law

and in equity, and for all costs of Court in his behalf expended.



                                                   Respectfully Submitted,

                                                   THE CISNEROS LAW FIRM,L.L.P.
                                                   312 Lindberg
                                                   McAllen, Texas 78501
                                                   Telephone No.(956)682-1883
                                                   Fax No.(956)682-0132
                                                   Email: email@cisneroslawfirm.com



                                                   MICHAE J.,CISNEROS
                                                   State Bar No.00793509
                                                   ARTURO CISNEROS
                                                   State Bar No.00789224
                                                   Attorneys for Plaintiff




                                               4
